
680 S.E.2d 872 (2009)
Richard A. FRANCO, Jr.
v.
LIPOSCIENCE, INC.
No. 255A09.
Supreme Court of North Carolina.
July 14, 2009.
Gregory P. McGuire, Raleigh, for Liposcience, Inc.
Preston Odom, Charlotte, for Richard A. Franco, Jr.
The following order has been entered on the motion filed on the 13th of July 2009 by Plaintiff for Extension of Time to File Brief. Plaintiff shall have up to and including the 14th day of August 2009 to file and serve his brief with this Court:
"Motion Allowed by order of the Court in conference this the 14th of July 2009."
